AO 442

Case 3:16-cr 0047 Document 117 Filed 05/04/17 @.. lofi PagelD 272
(Rev. 10/03) Warrant for Arrest

  
 

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UNITED STATES DIsTRIGE C “Oot
6 ROY”
Northern District of °

UNITED STATES OF AMERICA

V.
DONALD RAY BROUSSARD

 

 

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a ~_ os
Case Number: 3:16-CR-479-N-10 7 as Ze
>= mh
ee ,
c at
To: The United States Marshal
and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest

DONALD RAY BROUSSARD
and bring him or her forthwith to the nearest magistrate judge to answer a(n)

 

 

Name
. . . Probation Supervised Release Violation
¥ Indictment Information Complaint Order of court Violation Petiton Violation Petition Notice
charging him or her (brief description of offense)
Conspiracy to Distribute a Controlled Substance

 

 

 

 

United States Code

in violation of Title 21 Section(s) 846

Karen Mitchell, U.S. District Court Clerk Shur PY phat

Name and Title of Issuing Officer Signatdire of Issuing Offier
United States Magistrate Judge Irma C. Ramirez 11/2/2016 Dallas, Texas
Date Location

By: s/S. Shelby

Deputy Clerk

 

RETURN
This warrant was received and executed with the arrest of the above-named defendant at
~TDdkas RS

DATE, oF Bp l 14
“Sl alle

 

NAME

 

 

 

D TITLE OF ARRESTING OFFICER

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